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STATE OF CONNECTICUT

                                                       ss: New Haven, Connecticut

COUNTY OF NEW HA VEN

                                                         October 21, 2019



                                           AFFIDAVIT


       I, Samuel Wharton, being duly sworn, state as follows:

        1.      I am a Special Agent with the Federal Bureau of Investigation ("FBI"), and I have

been an agent since September 2017. I am presently assigned to the FBI's field office in New

Haven, Connecticut. My training has included training at the FBI academy at Quantico, Virginia,

for investigating many crimes, including espionage, terrorism, drug trafficking, and financial

fraud. Prior to joining the FBI, I served as a Military Police officer in the United States Army for

5 years where I regularly participated in investigations for a wide variety of criminal offenses.

Before joining the military, I studied Arabic and Islamic culture for 2 semesters while attending

the United States Military Academy at West Point. As an FBI Special Agent, I have investigated

several criminal violations, including narcotics trafficking, homicide, and international terrorism. I

also have served as the affiant for search warrants, including search warrants for electronic

evidence. I have been assigned to the Joint Terrorism Task Force since September 2019.

       2.       I submit this affidavit in support of an application for a criminal complaint for

McCormick, a U.S. citizen, born in August 1993, residing in Hamden, Connecticut, for violating

Title 18, United States Code, Sections 2339B, Attempting to Provide Material Support and

Resources to a Foreign Terrorist Organization ("FTO").

       3.       The information contained in this affidavit is from my personal participation in the

investigation, information provided by two reliable Confidential Human Sources ("CHS-1" and
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"CHS-2," individually, and "CHSs" collectively 1), consensual recordings of conversations

between the two CHSs and Kevin Iman McCormick ("McCormick"), and information provided to

me by other law-enforcement officers. 2 Due to the fact this affidavit is being made to establish

probable cause, I have not listed each item and every fact known by me regarding the

investigation.

          4.      In this affidavit, the FBI has provided translations of certain Arabic words or

phrases. These translations are based on information provided to me by an FBI linguist and from

my training and experience. 3 I have indicated the translations by bracketing the English

translations that came from Arabic recordings and documents.

                                            BACKGROUND

          5.      Based on my training and experience as a Special Agent with the FBI, as well as the

facts set forth in this affidavit, there is probable cause to believe that beginning in or about

September 2019, and continuing to the present, McCormick attempted to provide material support

and resources to a foreign terrorist organization-that is, the Islamic State oflraq and Al-Sham

("ISIS")-in violation of Title 18, United States Code, Section 2339B. Specifically, McCormick

attempted to provide material support and resources, as that term is defined in Title 18, United

States Code, Section 2339(a), including personnel (himself), to ISIS.

          6.      On or about October 19, 2019, McCormick made a "bayat" video during which he

pledged allegiance to ISIS and its leader, Abu Bakr Al-Baghdadi. Based on my training and

experience, I understand some individuals attempting to join ISIS pledge their allegiance to ISIS


1
  The CHSs are paid informants for the FBI. Both CHSs have been found to be reliable sources for
the FBI. CHS-1 has worked as a paid informant for the FBI since April 2013, though CHS-1 only
has worked as a paid informant on limited occasions. CHS-2 has worked as paid informant for the
FBI since May 2006.

2
 McCormack likely has mental health issues. I understand this based on information from local
police reports, which include statements from his family.
3
    The transcriptions and translations are in preliminary form and have not been finalized.
                                                   - 2-
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and Al-Baghdadi through video messages. I also understand the term "bayat" to mean making a

solemn promise.

       7.       On or about October 19, 2019, McCormick purchased a plane ticket from Toronto,

Canada, to Amman, Jordan. Based on prior meetings between CHS-1, CHS-2, and McCormick,

McCormick believed that CHS-2 was an ISIS facilitator and would be able to smuggle him out of

the United States to Toronto, and that his flight from Toronto to Amman would enable him to

connect with ISIS members overseas, who, in turn, would assist McCormick with traveling to ISIS

within Syria.

                                   STATUTORY AUTHORITY

       8.       Title 18, United States Code, Section 2339B prohibits, in pertinent part, a person

from knowingly providing "material support or resources to a foreign terrorist organization," or

attempting or conspiring to do the same.

       9.       "The term 'material support or resources' means any property, tangible or

intangible, or service, including currency or monetary instruments or financial securities, financial

services, lodging, training, expert advice or assistance, safe houses, false documentation or

identification, communications equipment, facilities, weapons, lethal substances, explosives,

personnel (1 or more individuals who may be or include oneself), and transportation, except

medicine or religious materials." Title 18, United States Code, Section 2339A(b)(l). "The term

'training' means instruction or teaching designed to impart a specific skill, as opposed to general

knowledge." Title 18, United States Code, Section 2339A(b)(2). "The term 'expert advice or

assistance' means advice or assistance derived from scientific, technical or other specialized

knowledge." Title 18, United States Code, Section 2339A(b)(3).

       10.      Title 18, United States Code, Section 2339B(h) states "no person may be

prosecuted under this section in connection with the term personnel unless that person has

knowingly provided, attempted to provide, or conspired to provide, a foreign terrorist organization


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with 1 or more individuals (who may be or include himself) to work under that terrorist

organization's direction or control or to organize, manage or supervise, or otherwise direct the

operation of that organization."

                        THE ISLAMIC STATE OF IRAQ AND AL-SHAM

        11.       On October 15, 2004, the United States Secretary of State designated al-Qaeda in

Iraq ("AQI"), then known as Jam'at al Tawhid wa'al-Jihad, as an FTO under Section 219 of the

Immigration and Nationality Act and as a Specifically Designated Global Terrorist entity under

section l(b) of Executive Order 13224.

        12.       On or about May 15, 2014, the Secretary of State amended the designation of AQI

as an FTO under Section 219 of the Immigration and Nationality Act and as a Specially

Designated Global Terrorist entity under section l(b) of Executive Order 13224 to add the alias

Islamic State of Iraq and the Levant ("ISIL") as its primary name. The Secretary of State also

added the following aliases to the FTO listing: The Islamic State oflraq and al-Sham ("ISIS"-

which is how the FTO will be referenced herein), The Islamic State oflraq and Syria, ad-Dawla al-

Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furquan Establishment for

Media Production. On September 21, 2015, the Secretary of State added the following aliases to

the FTO listing: Islamic State, ISIL and ISIS. To date, ISIS remains a designated FTO.

        13.       Based on my training and experience, I understand Abu Bakr al-Baghdadi to be the

leader of ISIS.

                          FACTS ESTABLISHING PROBABLE CAUSE

        14.       On October 4, 2019, a concerned individual who attends an Islamic Center in

another State reported to the FBI that he/she encountered McCormick on or about September 1,

2019. The concerned individual reported that McCormick expressed a desire to travel to Syria to

"fight for Allah."




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           15.   According to the concerned individual, McCormick attempted to justify his reasons

to fight by quoting and citing religious doctrine, but he did so incorrectly. McCormick agreed with

the concerned individual that innocent people should not be attacked and McCormick further

stated that is why his fight has to take place in Syria.

           16.   The concerned individual was shown a picture of McCormick from his Connecticut

Driver's License, and that individual identified McCormick as the individual who expressed a

desire to travel overseas to Syria for the purpose of fighting.

           17.    McCormick worked as a contract driver for a large company and was fired on or

about September 15, 2019. After being fired, McCormick entered a large store in Washington

State and attempted to purchase a firearm and knife. The sales associates at the store did not know

McCormick had just been fired. McCormick behaved strangely and told the sales associates that

the purchase of the firearm was "not for an animal." The associate declined to sell McCormick the

firearm.

           18.   On or about August 24, 2019, members of the local Muslim community center in

yet another State reported McCormick because he made concerning statements. McCormick was

reported to have said to community members that ' 1we should support ISIS," and "Jihad is the way

to go." McCormick also inquired about circumcision and wanted a doctor that could help him with

the procedure.

           19.   On or about September 4, 2019, law-enforcement personnel reviewed McCormick's

public Facebook page, which revealed, among other things, ISIS-related videos and videos of

McCormick shooting what appeared to be a Glock pistol at a firearms range.

           20.   On or about September 26, 2019, McCormick was brought back to his employer's

headquarters in Arkansas and formally terminated, at which time McCormick reacted angrily. The

police were called, and McCormick yelled and kicked open a door. McCormick was charged with




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disorderly conduct and spent one-and-one-half weeks in jail. Sometime thereafter, McCormick

traveled from Arkansas to Connecticut, where he resides with family.

         21.   On or about October 12, 2019, McCormick attempted to board a flight from

Bradley International Airport in Hartford, Connecticut, to Jamaica. The Depart~ent of Homeland

Security ("DHS"), however, prevented McCormick from boarding the flight.

         22.   After DHS prevented McCormick from boarding the flight to Jamaica, CHS-1 met

with McCormick. During their conversation, McCormick told CHS-1 that he wanted to travel to

Jamaica, and then onward to Syria in order to join ISIS. 4 McCormick also stated that he had asked

about buying a shotgun, but he really wanted an AK-47. McCormick told CHS-1 multiple times

that he wanted to kill people, specifically people from DHS, because DHS prevented McCormick

from boarding the flight to Jamaica. McCormick also stated he had friends who were gang

members who had access to firearms and could get him a firearm.

         23.   On or about October 12, 2019, at approximately 5:00 p.m., CHS-1 picked up

McCormick from his residence in Hamden, Connecticut. McCormick stated he had a lot of

connections in Jamaica with access to firearms. McCormick also claimed to have a local friend

who has access to firearms and who may be willing to sell him a gun.

         24.   McCormick told CHS-1 that he thought someone he knew had stolen his truck.

McCormick did not want to call the police on the individual, and McCormick stated, "Prison is

worse than death bro, I would rather kill him bro honestly, or knock him out or something." Later

in the evening, McCormick requested CHS-1 purchase a machete for him. McCormick wanted the

machete for use against the individual who, according to McCormick, stole his truck. CHS-1

refused to purchase the machete for McCormick.




4
 CHS-1 attempted to record this conversation, but the recording device did not record any content.
All other communications between McCormick and CHS-1 (as well as CHS-2) were recorded.
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          25.    On or about October 18, 2019, CHS-I met with McCormick for the purpose of

introducing CHS-2. On the way to meet CHS-2, McCormick told CHS-I, "No but it's like, it's

like they're just - it's like they just want to stay like this, their little comfort zone, bro people are

afraid to die bro. That's what they are, they are afraid to fight and die bro. I would, bro first of all,

it's going to be very hard to kill me bro. I'm telling you, it's going to be very hard. IfI have a

weapon, ifI have a rifle, and I have people with me, it's going to be very hard to kill me, ifI have

like an army."

        26.      CHS-2 was introduced to McCormick as a person CHS-I knew when CHS-I fought

overseas. When CHS-I and McCormick met with CHS-2, CHS-2 asked McCormick about his

background and where he wanted to go. McCormick told CHS-2, "I've been ready for quite a long

time now, I just need help to get out of here. I just, ifI could get to the Muslim country."

        27.      CHS-2 asked McCormick where he wanted to go, and McCormick responded "I

gotta fight bro, because those people, Abu Masa and ISIL, they fought for me bro, I know it, I can

feel it, in my heart. So it's my time to fight ... It just is what it is bro, it's just my - it's just my

time to go bro." CHS-2 asked McCormick ifhe was sure that he wanted to travel to a Muslim

country, and McCormick replied, "I have to go."

        28.      McCormick further stated he traveled to Jamaica and spoke with people there in

order to "see if I could find anybody there that was going over there so I could get some help to go

over there." McCormick also stated he went to Jamaica because of a particular person there who

"believed in jihad too." McCormick elaborated, "and then there was this guy in Trinidad who

believes in Jihad too that had - and Trinidad had like an ISIS problem too so I was trying to make

my way over there, but no one was trying to help bro." McCormick continued "No one was trying

to help, I couldn't, like, I couldn't even believe it. Like no one even cared, I'm like - I'm like bro

they killed one million people in Iraq bro like what are we doing bro? Two hundred and twenty

thousand in Afghanistan and 80,000 in ... , like what are we doing? ... And we're living in this


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horrible place, like I can't do it- I have to go fight. Because I got brothers dying, I can feel it like,

the [unintelligible "UI")] is one. The true Muslims are one. I can like feel it in my arm, my heart,

like because I know how well I can fight. You understand? So like I know that they need my help

bro. I know I need to go over there, and ifl die [UI] like, whatever bro. It's not like - it's not the

end of the world."

          29.    McCormick explained to CHS-2 how he was stopped from traveling at Bradley

International Airport, and how he suspected that his mother might have called the authorities in

order to block his travel. McCormick described an incident with his uncle, which resulted in a

physical altercation. McCormick explained, "So I ended up fighting him and knocking him out,

and I was going to kill him when he was knocked out, I was going to take a knife and stab him in

his neck because [UI] anyway under [UI] is death bro. But like, but like I'm saying like I ended up

calling the cops to break it up because I was going to kill him bro."

          30.   CHS-2 asked McCormick to elaborate on where he would like to travel, and

McCormick responded, "I don't know, I don't know bro - it's gotta be like Syria. Where ISIL is

at." McCormick continued" ... whichever place is easiest, whichever place I can get there the

fastest, the quickest, the easiest, and where I can have a rifle and I can have some people bro.

That's what I need, I need a rifle and I need some people, I need Islamic law, I need, that's what I

need, because ifl have these things, it's going to be very hard to kill me."

         31.    McCormick told CHS-2 "Yeah, fighting, it's uh - fighting in the - I mean the

Quran says fight those who fight you ... But don't transgress the limits." When CHS-2 asked who

is fighting, McCormick responded, "The whole world bro." When CHS-2 inquired about

McCormick's understanding of jihad, McCormick advised there are two ways jihad will end:

"Death" and "Islamic Law." McCormick further stated, "I mean death bro, death or - I mean like I

said bro, it's going to be very hard to kill me - alright, like I said again, [UI] when something is

important, say it three times, I'm telling you. It's going to be very hard to kill me. But I'll probably


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die, you know who knows, I'll probably die, because it's a lot of them, they have a lot of weapons,

but at least I can die fighting. At least, please ... Please, at least I - but it's also fighting, it's

fighting for the Quran [UI] it's fighting for Allah, it's fighting for what was revealed, it's fighting

for also the other Muslim people that maybe don't have the courage to fight, you know what I

mean?" McCormick explained "Killing someone for Allah, it- and the Quran and [UI] especially

with a gun bro, with a gun, I could just 'pah!' And kill someone, it's so easy."

          32.   McCormick explained his willingness to kill another human being in jihad,

" ... you're supposed to fear God, you're supposed to have fear of Allah, so the fear of Allah gives

me the strength to kill. That's what gives me the strength to kill. It's not that I want to kill, you

understand? It's like, it's perfect, the Quran is perfect in what it says, it's a perfect book it says

fighting has been ordained for you. You may not like something which is good for you, and you

may like something which is bad for you, so it's not like I want to kill bro, it's I have to bro. It's

this I have to do it bro."

          33.   McCormick continued to express his support for ISIS: "I do like, I do like ISIS

because Abu Musa was like my hero, I cry when I watch that video." McCormick explained that

he had funds to travel. "I got like $700 and like $400 in my wallet." McCormick continued to

express his desire to travel: "I can't even, oh my god. Bro, I'm ready bro, I'm so ready. I'm so

ready, I - I don't know what to - you - you wonder what I wanna do? I wanna like cut my arm off

and give it to you bro, so you can feel what I feel in my heart bro."

          34.   McCormick showed CHS-2 a video of McCormick shooting a firearm at range.

McCormick explained, "Because the thing is - when you're - when you're in the range, and when

you're holding the gun, you can just look around and aim the gun at somebody, and I was in a

shalwar kameez [Islamic clothing]. So they were nervous ... They were looking at me nervous,

because I - I could've moved the round I could've shot them."




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         35.   CHS-2 provided McCormick with his UserID for a secure communications

application, which charges a nominal download fee. CHS-2 told McCormick to be patient and to

only download the application ifhe has made the decision to fight jihad. McConnick told CHS-2

that "I already made my decision," but CHS-2 replied that CHS-2 would not accept McCormack's

decision at that time. CHS-2 again stressed not to download the application while he was with

CHS-1 in order to avoid influencing CHS-1 in his/her decision to fight jihad. CHS-2 told

McCormick that ifhe decided he was ready, the he should contact CHS-2 using the application by

sending a message with McCormick's name and the phrase "I'm ready."

         36.   After CHS-2 departed the meeting, McCormick told CHS-1, "I'm more than ready

bro, I don't even want to say it anymore, I don't want to talk about it anymore to be totally

honest." "I'm gonna message him as soon as I get to the house. I don't even want to go back to the

house, that's why I'm so upset like."

         37.   Later that evening, McCormick contacted CHS-2 on the application. McCormick

created the username "ImanMadman"'" and sent the following message to CHS-2:

         • "Asalam Alaaykum Kevin Iman McCormick here"

         • "I'm ready."

         38.   On or about October 19, 2019, McCormick met with CHS-1 and CHS-2.

McCormick again stated that he was "ready" and was "ready now." CHS-2 told McCormick the

earliest they would be able to travel would be October 21, 2019. CHS-2 asked McCormick what

his plan had been, and McCormick responded, "My plan was to go to Jamaica" and then affirmed

to CHS-2 that his plan had been to travel to the Middle East after arriving in Jamaica.

         39.   CHS-2 explained to McCormick that since he could not travel from the United

States on his U.S. passport, they would need to smuggle him out of the United States. CHS-2 told

McCormick that he would need to purchase a ticket on a specific airline from Toronto, Canada, to




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either Istanbul, Turkey, Beirut, Lebanon, or Amman, Jordan. CHS-2 explained the advantages and

disadvantages regarding each of the three locations.

          40.   CHS-2 told McCormick, "If you cannot get the ticket, I cannot start anything," and

McCormick offered to "get the ticket right now." McCormick brought up the website of the

airlines and CHS-2 showed McCormick the process of searching for the airline ticket. CHS-2 told

McCormick to send him the airline ticket on the previously used application once he decided to

purchase the ticket.

         41.    CHS-2 began speaking with McCormick about being kind to his parents, even

though they are non-believers. McCormick responded that "I am nice, they are not nice," and "If I

wasn't nice, I would have killed them already, both of them."

         42.    CHS-2 and McCormick discussed the meaning and purpose of bayat to the Islamic

State. CHS-2 explained that it was a pledge, and that once bayat is given to ISIS, you cannot leave

ISIS. McCormick decided that he would pledge bayat to "Baghdadi."

         43.    Before making the pledge, McCormick asked why there were so many ISIS fighters

in prison, and why they "just gave up." McCormick went on, "because when I've got a rifle, and

I've got a couple people with me at least, like a little army, I'm not gonna, they're not gonna bring

me to prison, bro. That's what I'm sayin, bro. I'm not going to jail, bro. You know what I mean?

Like, this country different, like, I don't have a weapon on me, and you can't go anywhere, like,

why are so many people in jail? Why did so many people give up bro? Like where's their Imam?"

McCormick continued, "But we have guns now. I could kill people from so far away ... I can't

give up ... they'll have to kill me."

         44.    CHS-2 asked if McCormick wanted to make his pledge with his face covered with a

scarf or uncovered. McCormick decided to have his face showing during the pledge. CHS-2 asked

McCormick ifhe knew what he was going to say, and McCormick explained that he was going to

pledge to "fight for the Khalifa, fight when he tells me to fight, stop when he tells me to stop ...

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and to establish an Islamic State and implement the Sharia." CHS-2 asked for the name of the

K.halifa, and McCormick responded "Baghdadi."

         45.   McCormick practiced the bayat pledge. CHS-2 attempted to videotape McCormick

from the CHS' s phone, but the video recording did not work due to technical issues with the

device. CHS-2 recorded McCormick making his bayat pledge on McCormick's phone.

McCormick said, "I pledge allegiance to Abu Bakr Al-Baghdadi, I pledge allegiance to the Islamic

State, to fight for the Sunna, the Sharia, and the Quran." CHS-2 then videotaped a second bayat

pledge by McCormick, at McCormack's request. McCormick stated, "I pledge allegiance to Abu

Bakr Al-Baghdadi, Islamic State, and I will fight for the Quran, the Sunna, and the Sharia." The

video was then played back, and McCormick stated, "it doesn't sound good in English."

McCormick then asked CHS-2 to do the video again so he could do it "in my native language."

CHS-2 then recorded another bayat video from McCormick's phone, again at McCormick's

request, where McCormick stated "I pledge allegiance to Abu Bakr Al-Baghdadi, ISIS, ISIL, and I

will fight for the Quran, the Sunna, and the Sharia, Inshallah." This video was done in Patois-

McCormick's native language. McCormick sent CHS-2 the two bayat videos via the secure

communications application.

         46.   McCormick then stated, "when I fight, Inshallah, I want them to come close, like I

need them to be close, like ... (UI) I want them to know who it is ... I want them to send their

best people, like, and if they want to, I'll fight them one-on-one with a sword, if they wanna do

that."

         47.   Later that evening, McCormick sent a picture of his ticket confirmation to CHS-2

on the secure communications application. The picture showed the airline confirmation and

included details for the airline ticket. McCormick intended to fly from Connecticut to Toronto,

Canada, where he would travel on the following flights: (1) from Lester B. Pearson International

Airport to Cairo International Airport on October 22, 2019 (EgyptAir Flight MS 996) and (2) from

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Cairo International Airport to Queen Alia International Airport (Amman, Jordan) on October 22,

2019 (EgyptAir Flight MS 719). McCormick paid $504.76 for the ticket and received a

reservation number. The ticket was issued to "Kevin Mccormick" and listed contact information

(telephone number and email account) for McCormick that is consistent with information I know

to have been used by McCormick when communicating with the CHSs.

          48.       On or about October 21, 2019, at approximately 3:35 a.m., McCormick left his

residence and traveled in a car service from his residence to the train station located at 50 Union

Avenue, New Haven, Connecticut, where he waited until approximately 6:00 a.m. While waiting

in the train station, McCormick was observed watching his cellphone from which sounds of

gunfire could be heard. At approximately 6:00 a.m., McCormick met up with CHS-1 and CHS-2.

Then, the CHSs and McCormick traveled from the train station to local small private airport. 5

McCormick exited the vehicle with the CHSs and proceeded to walk towards the plane. After

walking through a gate that separates the tarmac from any buildings and roads, McCormick

continued walking with CHS-1 towards a plane outside a hanger appearing to go through

predeparture routines. As McCormick and CHS-1 approached the plane, law-enforcement officers

arrested McCormick. Law-enforcement officers advised McCormick of his Miranda rights soon

after his arrest.

                                           CONCLUSION

        49.         Based on the foregoing, I believe there is probable cause to believe that on an exact

date that is unknown, but at least by on or about October 21, 2019, in the District of Connecticut

and elsewhere, that Kevin Iman McCormick attempted to provide material support or resources to

a foreign terrorist organization, in violation of Title 18, United States Code, Section 2339B. I

respectfully request the issuance of the requested criminal complaint.



5
 The airport is a small airport primarily used by hobby flyers who pay to rent planes, store their
own planes, and are allowed open access to the plains and flight line.
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                                    REQUEST FOR SEALING

       50.     I further request that the Court seal the underlying affidavit supporting the criminal

complaint for 60 days from today. My supporting affidavit details matters about the investigation

that are not a matter of public information at this time, including the methods of investigation and

sources of information. The FBI is continuing to investigate active leads concerning the

defendant's ties to others. Accordingly, clear and convincing reasons to seal the affidavit because

the premature disclosure of this investigation will jeopardize the FBI' s efforts to pursue active

leads in this investigation and jeopardize the ongoing investigation.




Subscrib1 and sworn to before me
this ~    day of October, 2019,
at New Haven. C:onnecticut.


      /s/ Sarah A. L. Merriam, USMJ
H N         B E SARAH A.L. MERRIAM
lJN t.:Vnn STATES MAGISTRATE JUDGE




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